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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §                         CASE NO. 6:13CR2(8)
                                                   §
 STILE PARKER DENTON                               §



                 ORDER ADOPTING THE REPORT AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE


         The above-styled matter was referred to the Honorable Judith K. Guthrie, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Guthrie conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued her Report and Recommendation ('RF1R86) on July 16,

 2013. Judge Guthrie recommended that the Court accept Defendant’s guilty plea and conditionally

 approve the plea agreement. She further recommended that the Court finally adjudge Defendant as

 guilty of a lesser included charge in Count 1 of the Indictment filed against Defendant in this cause.

         The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

 that the Report and Recommendation should be accepted.

 It is accordingly ORDERED that thH5HSRUWDQG5HFRPPHQGDWLRQRIWKH8QLWHG6WDWHV

 0DJLVWUDWH-XGJH('RF1R186) is ADOPTED.

 It is further




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            ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

    the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

    It is finally
.
            ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

    GUILTY of a lesser included charge of Count 1 of the Indictment in the above-numbered cause

    and enters a JUDGMENT OF GUILTY against the Defendant as to the lesser included charge of

    Count 1 of the Indictment.

             It is SO ORDERED.

      SIGNED this 7th day of August, 2013.




                                                      ____________________________________
                                                      MICHAEL H. SCHNEIDER
                                                      UNITED STATES DISTRICT JUDGE




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